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                                   EXHIBITBTO
                          BELO CASES INITIAL PROCEEDINGS
                             CASE MANAGEMENT ORDER


                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

***                                                         CIVIL ACTION

VERSUS                                                      NO.

BP EXPLORATION & PRODUCTION, INC.                           JUDGE BARBIER
AND BP AMERICA PRODUCTION COMPANY                           MAG. JUDGE WILKINSON

Related to:    12-968 BELO
               in MDL No. 2179

                                PLAINTIFF PROFILE FORM

PLAINTIFF'S FULL N A M E : - - - - - - - - - - - - - - - - - - - - -

Please answer every question to the best of your knowledge. You are signing and submitting this
Plaintiff Profile Form under penalty of perjury and must provide information that is true and
accurate. If you carmot recall all of the details requested, please provide as much information as
you can. For each question where the space provided does not allow for a complete answer,
please attach as many additional sheets of paper as necessary to fully answer the question.

If you are asked to identify a person (such as doctors or witnesses), give the name and
last-known address and telephone number.

NOTE: Please provide information regarding the person who claims         ini.Yn'. The terms "you"
and "your" refer only to that person, not to the individual who may be completing this form in a
representative capacity (except Nos. 12-18). If the person who claims injury is deceased, the
personal representative should respond as of the time immediately prior to his or her death unless
a different time period is specified.

YOUR BACKGROUND INFORMATION




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2.    Telephone n u m b e r : - - - - - - - - - - - - - - - - - - - - - - - - - -

3.    Maiden or other names used or by which you have been known, and the dates during
      which you were known by such names: - - - - - - - - - - - - - - - - - - -

4.    Date and Place of B i r t h : - - - - - - - - - - - - - - - - - - - - - - -

5.     Male          Female

6.    Social Security N u m b e r : - - - - - - - - - - - - - - - - - - - - - - - -

7.    Each address (other than your current address) at which you have lived during the last ten
      (10) years, and list the dates of residence for each one:

                  Address                                         Dates of Residence




8.    Driver's License Number and State Issuing L i c e n s e : - - - - - - - - - - - - - -

      A.      Have you ever had your driving privileges suspended or limited based on your
              health or physical condition?     Yes               No _ __

      B.      If so, when and for what reason(s)? - - - - - - - - - - - - - - - - -




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9.     Employment Information:

       A.     Current employer (if not employed, last employer):

                                                                   Dates of        Occupation/Job
       Employer                         Address
                                                                  Employment             Duties




       B.     Past employers (last ten (10) years):

                                                       Dates of
       Employer                 Address                                   Occupation/Job Duties
                                                      Emplovment




10.    Have you ever been out of work for more than thirty (30) days for reasons related to your
       health (other than pregnancy)? Yes             No__ If "Yes," when were you out of



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       work and why? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



11.    If you are represented by counsel, please provide the following information:

       Plaintiffs primary attorney: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       Law Firm: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




       Telephone number: - - - - - - - - Fax number:

       E-mail address:
                         --------------------------
INFORMATION ABOUT THE PERSONAL REPRESENTATIVE

If you are completing this form in a representative capacity (e.g., on behalf of the estate of a
person or a minor), please complete the following:

12.    Name:

13.    Address:
                  -----------------------------

14.    In what capacity are you representing the individual or estate? - - - - - - - - - -



15.    What is your relationship to the person claiming to be injured? _ _ _ _ _ _ _ _ __



16.    If you were appointed as a representative by a court, state the following:
       Court, Court Term, & Case Number:




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17.    Date of Appointment: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


18.    If you represent the estate, when and where did the decedent die? - - - - - - - - -




INFORMATION ABOUT THE CLAIM

19.    Are you claiming that you have developed or may develop bodily injury as a result of
       exposure to the oil spill and/or chemical dispersant used in response to the oil spill?
       Yes         No

20.    Describe in as much detail as possible the bodily injury (or medical condition) you claim
       resulted from your exposure to the oil spill and/or chemical dispersant?




21.    Describe in as much detail as possible the circumstance(s) in which your exposure to the
       oil spill and/or chemical dispersant occurred:




       A.     Where did the exposure(s) occur? - - - - - - - - - - - - - - - - -

       B.     When did the exposure(s) occur? - - - - - - - - - - - - - - - - - -

       C.     To what substance or chemical were you exposed, if you know? - - - - - - -



       D.     For how long were you exposed to this substance or chemical? _ _ _ _ _ __




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22.    Who witnessed your exposure to this substance or chemical? - - - - - - - - - -




23.    During your alleged exposure, were you provided by BP or any other entity protective
       clothing, gear, equipment, etc.? Yes __ No __

       A.     Identify the specific clothing, gear, equipment, etc. you were provided:



       B.     When and how often were you provided such clothing, gear, and equipment? __




       C.     Where or from whom were you provided the clothing, gear, equipment, etc.?




24.    During your alleged exposure, did you wear and/or use protective clothing, gear,
       equipment, etc.? Yes __ No __ If"Yes,"

       A.     Identify the specific clothing, gear, equipment, etc. worn and/or used:



       B.     When and how often did you use and/or wear such clothing, gear, and equipment?




       C.     Where or from whom did you obtain the clothing, gear, equipment, etc.?




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         D.     If you did not use the clothing, gear, equipment provided to you, please explain
                why:




25.      Name of doctor(s) (or other healthcare providers) who diagnosed your mJury (or
         condition)? - - - - - - - - - - - - - - - - - - - - - - - - - - - - -




         A.     For each doctor (or other healthcare provider) identified in the prior question,
                when did he/she make the diagnosis? - - - - - - - - - - - - - - - - -




         B.     Have you had any discussion with physician(s) or other healthcare provider(s)
                about whether your alleged injury or injuries are, or might be, related to exposure
                to the substance or chemical listed in answering Question 21 (C)?
                Yes       No

                If" Yes," please provide the following information:


      Name & Address of Healthcare            Date of
                                                                       What Was Said
              Provider                       Discussion




26.      Who else (beside your doctor or healthcare providers) knows about your mJury (or
         condition)? - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

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27.    Does the alleged injury, or do the alleged injuries, persist today?
       Yes       No

       A.     Do you still receive treatment? Yes              No




28.    Have you ever suffered this type of injury or condition before (i.e., before the date given
       in your answer to Question 21(8))? Yes             No          If"Yes,"


       A.     When?

       B.      Who diagnosed the injury (or condition) at that time? - - - - - - - - - -




       C.      Who treated the injury (or condition) at that time? _ _ _ _ _ _ _ _ _ __

29.    Do you claim that your exposure to the oil spill and/or chemical dispersant worsened an
       injury (or condition) that you already had or had in part?
       Yes_ No _ _ . If"Yes,"

       A.      What injury (or condition) was made worse? - - - - - - - - - - - - - -




30.    Are you claiming a mental and/or emotional condition as a consequence of exposure to
       the oil spill and/or chemical dispersant? Yes            No           If"Yes,"




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       A.     Identify each healthcare provider (including but not limited to primary care
              physicians, psychiatrists, psychologists, counselors) from whom you have sought
              treatment for psychological, psychiatric, or emotional condition during the last
              ten (I 0) years:




       B.     Describe the condition for which you received consultation/treatment: _ _ __




       C.     Dates of consultation/treatment: - - - - - - - - - - - - - - - - - - -

       D.     Medications and other treatments prescribed or recommended by the provider:




31.    Identify all persons who possess information concerning your injury and/or your medical
       conditions. (Please attach additional sheets as necessary.)

       A.     Name:

              Address: - - - - - - - - - - - - - - - - - - - - - - - - - - -
              Relationship:
              What do they know about your injury or condition? - - - - - - - - - - -




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       B.     Name: ---------------------------~
              Address:
              Relationship:
              What do they know about your injury or condition? - - - - - - - - - - -



       C.     Name: -------------------------~
              Address:
              Relationship:
              What do they know about your injury or condition? - - - - - - - - - - -



32.    Do you claim or expect to claim that you lost earnings or suffered impairment of earning
       capacity as a result of any physical, mental, or emotion injury that you allege?

       Yes        No          If"Yes,"

       A.     What was your annual income at the time you were injured? - - - - - - - -



       B.     How long do you claim that you were unable to work due to the claimed injury or
              had impaired capacity (please provide d a t e s ) ? - - - - - - - - - - - - -



       C.     How much do you claim in lost wages?



INSURANCE AND OTHER COMPENSATION INFORMATION

33.    Have you filed a worker's compensation claim in the past I 0 years?

        Yes __ No __ lf"Yes," please state:

       A.     Year claim was filed:
                                         ---------------------~




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        B.     Where claim was filed:

        C.     Claim number, if applicable: - - - - - - - - - - - - - - - - - - -

        D.     Nature of the injury (or condition):


        E.     Period of disability: - - - - - - - - - - - - - - - - - - - - - -

        F.     If your claim for compensation has been approved, please describe the amount of

               compensation received or to be received. - - - - - - - - - - - - - - - -

        (Please copy and attach additional pages if necessary to provide a complete response.)

34.     Have you made a social security disability claim in the past ten years?
        Yes: __ No: __ If"Yes," please state:

        A.     Year claim was filed:

        B.     Where claim was filed:

        C.     Claim number, if a p p l i c a b l e : - - - - - - - - - - - - - - - - - - - -

        D.     Nature of the injury (or c o n d i t i o n ) : - - - - - - - - - - - - - - - - -



        E.     Period of disability: - - - - - - - - - - - - - - - - - - - - -

        F.     State whether your claim for compensation has been approved or denied: _ __

        G.     If your claim for compensation has been approved, please describe the amount of
               compensation received or to be received.
                                                         ----------------

      (Please copy and attach additional pages if necessary to describe more than one claim.)

35.     Have you made any other form of disability claim in the past 10 years?
        Yes: __ No: __ If"Yes," please state:

        A.     When was the claim filed?
                                           -------------------~




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        B.     With whom was the claim filed?
                                                   ------------------

        C.     What was the nature of the disability? - - - - - - - - - - - - - - - -




        D.     For how long were you disabled?

        E.     State whether your claim for compensation has been approved or denied.



        F.     If your claim for compensation has been approved, please describe the amount of
               compensation received or to be received. - - - - - - - - - - - - - - -



      (Please copy and attach additional pages if necessary to describe more than one claim.)

36.     Have you made a claim for compensation for your claimed injuries with any insurance
        company, Medicare, or any other party that may be responsible for providing you with
        compensation in the past I 0 years? Yes:            No: _ _ If"Yes," please state:

        A.     Year claim was filed: - - - - - - - - - - - - - - - - - - - - - -

        B.     Where claim was filed: - - - - - - - - - - - - - - - - - - - - - -

        C.     Claim number, if applicable:

        D.     Nature of the injury (or condition): - - - - - - - - - - - - - - - - -

        E.     Period of disability:

        F.     State whether your claim for compensation has been approved or denied: _ __

        G.     If your claim for compensation has been approved, please describe the amount of

               compensation received or to be received. - - - - - - - - - - - - - - -




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       (Please copy and attach additional pages if necessary to provide a complete response.)

37.    Have you ever filed a lawsuit or made a claim alleging personal injury, other than the
       present lawsuit? Yes: _ _ No: _ _ If"Yes,"

       A.     When did you file the lawsuit? - - - - - - - - - - - - - - - - - - -

       B.     Who were the parties? - - - - - - - - - - - - - - - - - - - - - -




       C.     What was the case/civil action/docket number?    ------------~




       D.     What claim did you make?



       E.     Describe the result of the lawsuit, including the amount of any compensation that
              you received. - - - - - - - - - - - - - - - - - - - - - - - - -



38.    Have you ever filed a lawsuit or made a claim, other than the present lawsuit, seeking
       damagesfortheinjuriesyouclaiminthiscase? Yes: _ _ No: _ _ If"Yes,"

       A.     When did you file the lawsuit or claim? - - - - - - - - - - - - - - - -

        B.    If you filed a lawsuit:

              i.      Who were the parties? - - - - - - - - - - - - - - - - - - -



              u.      What was the case/civil action/docket number? - - - - - - - - - -

              u1.     What claim did you make? - - - - - - - - - - - - - - - - - -




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              1v.    Describe the result of the lawsuit, including the amount of any
                     compensation that you received. - - - - - - - - - - - - - - - -



       C.     If you filed a claim that was not a lawsuit, please describe the circumstances of
              that claim and the r e s u l t : - - - - - - - - - - - - - - - - - - - -




YOUR MEDICAL HISTORY

39.    Have you ever been exposed to substances or sources of contaminants and/or toxins other

       than the ones alleged in this lawsuit? Yes_ No __ If"Yes,"


       A.     Describe in as much detail as possible the circumstances in which your exposure
              to such substances or sources occurred:
                                                        ----------------




              1.     Where did the exposure(s) occur?

              ii.    When did the exposure( s) occur?

              iii.   To what contaminant and/or toxins were you exposed?

              iv.    What was your level of exposure to each contaminant and/or toxin, if you
                     know?

              v.     For how long were you exposed to each contaminant and/or toxin?




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40.     Smoking history. Check the answer and fill in the blank applicable to your history of
       smoking and/or tobacco use:

       A.             Never smoked or chewed.

       B.             Smoked in the past, but stopped

               i.     When did you start?_____________________

               11.    When did you stop?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               lll.   What did you use? Cigarettes/cigars/pipe tobacco/chewing tobacco/snuff.



               iv.    Amount you smoked or chewed: on average_ per day for_ years.

       c.             Smoke now

               I.     When did you start?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               II.    When did you stop?_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

               lll.   What did you use? Cigarettes/cigars/pipe tobacco/chewing tobacco/snuff.



               iv.    Amount you smoked or chewed: on average_ per day for_ years.

41.    Have you ever experienced, been diagnosed with, or been treated for the following:

       A.      Health conditions, including but not limited to:

                      Anemia                                       Yes:              No:
                      Bacterial Infection                          Yes:              No:
                      Diabetes                                     Yes:              No:
                      Obesity                                      Yes:              No:
                      Blood Disorder                               Yes:              No:


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              Skin Disorder(s) (e.g. rashes, blisters)    Yes:    No:
              Stroke                                      Yes:    No:
              Seizures                                    Yes:    No:
              Muscle Disorder                             Yes:    No:
              Paralysis                                   Yes:    No:
              Severe Headaches or Migraines               Yes:    No:
              Cancer                                      Yes:    No:
              Allergies                                   Yes:    No:
              Compromised Immune System                   Yes:    No:
              Severe Allergic Reaction                    Yes:    No:
              Cardiovascular Disease
              (including high blood pressure)             Yes:    No:

              Heart Attack                                Yes:    No:
              Chest Pain                                  Yes:    No:
              Kidney Disease                              Yes:     No:
              Liver Disease                               Yes:     No:
              Respiratory Illness( es)                    Yes:     No:
              Ocular (Eye) Condition(s)                   Yes:     No:
              Conditions affecting the ears and
              hearing (including tinnitus)                Yes:     No:

              Conditions affecting the nose and sinuses
              (including rhinosinusitus)                  Yes:     No:

              Mental Health Issues                        Yes:     No:


  B.   Alcohol:   Number of drinks per day:

        Number of drinks per week:




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42.    If you answered "Yes" to any of the above, for each condition:

       A.      When was it diagnosed? (identify condition and month/year)

       B.      Who diagnosed it? (identify condition and health care provider)

       C.      Who treated it? (identify condition and health care provider)

YOUR FAMILY INFORMATION

43.    Have you ever been married? Yes _ _            No         If "Yes," for each spouse, please
       identify:




       B.      Date of marriage: - - - - - - - - - - - - - - - - - - - - - - -

       C.      Spouse's occupation: - - - - - - - - - - - - - - - - - - - - -

44.    Have any of your children, parents, siblings, or close relatives (aunts, uncles, or
        grandparents) suffered from any of the conditions listed in Question 40?         If "Yes,"
        identify each such person below and provide the information requested.

       A.      Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


       B.      Relationship to P l a i n t i f f : - - - - - - - - - - - - - - - - - - - -

        C.     Current Age (or Age at D e a t h ) : - - - - - - - - - - - - - - - - -

       D.      Type of C o n d i t i o n : - - - - - - - - - - - - - - - - - - - - - -

       E.      If Applicable, Cause of D e a t h : - - - - - - - - - - - - - - - - - -




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YOUR DOCTORS

45.     Your current family and/or primary care physician:

           Name                                               Address




46.     Your primary care physicians for the past ten (I 0) years:

           Name                                               Address




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47.     Each hospital, clinic, or healthcare facility where you have received inpatient treatment
        or been admitted as a patient during the past ten (I 0) years:

      Name                  Address                     Approximate      Reason for Admission
                                                           Dates




48.     Each hospital, clinic, or healthcare facility where you have received outpatient treatment
        (including treatment in an emergency room) during the last ten (I 0) years:

      Name                  Address                     Approximate      Reason for Treatment
                                                           Dates




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49.     Please list any and all surgeries, procedures, and hospitalizations that you have had in the
        past ten (I 0) years that you have not already described above.

         Approximate                    Reason for and                      Doctor Name and
         Date                   Description of Procedure          Address (including hospital or
                                                                             facility)




50.     Please list any and all surgeries, procedures, and hospitalizations that you have had at any
        time that you have not already identified above for diseases or medical conditions similar
        to the injury you are alleging in this lawsuit:

         Approximate                    Reason for and                      Doctor Name and
         Date                   Description of Procedure          Address (including hospital or
                                                                             facility)




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51.     Each physician or healthcare provider not already identified above from whom you have
        received treatment in the last ten (10) years:

      Name                 Address                   Approximate       Reason for Admission
                                                        Dates




52.     Each pharmacy that has dispensed medication to you in the past ten (10) years:

             Name                                           Address




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YOUR DOCUMENTS

53.     Please indicate if any of the following documents and things are currently in your
        possession, custody, or control, or in the possession, custody, or control of your lawyers.

        A.      Medical records. Yes             No

        B.      Decedent's death certificate (if applicable). Yes        No

        C.      Report of autopsy of decedent (if applicable). Yes__ No __ .

54.     Authorizations-Please sign and attach to this Fact Sheet the authorizations for the
        release of records appended hereto.

55.     Documents in your possession-If you have any of the following materials in your
        custody or possession, or in the possession, custody or control of your lawyers, please
        attach a copy to this Fact Sheet, but only to the extent that production of such documents
        in the attorney's possession does not violate the work product doctrine or attorney client
        privilege.

        A.      If you have been the claimant or subject of any worker's compensation, Social
                Security or other disability proceeding, all documents relating to such proceeding.

        B.      Copies of all medical records, bills, and any other documents from physicians,
                healthcare providers, hospitals, pharmacies, insurance companies, or others who
                have provided treatment to you in the past ten (10) years or that you otherwise
                identified in this Fact Sheet.

        C.      All documents constituting, reporting, summarizing, or referring to any medical
               test, psychological test, psychiatric test, intelligence test, mental health test, or
                standardized test of any kind ever taken by or administered to plaintiff in the past
               ten (I 0) years.




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  D.    All documents constituting, concerning, or relating to oil spill clean-up
        instructions, policies, and/or procedures; warnings regarding exposure; or other
        materials distributed with or provided to you in connection with your exposure to
        the oil spill.

  E.    Copies of photos of any protective gear, clothing, shoes, or equipment worn by
        you at any time during your exposure to the oil spill. (Plaintiffs must maintain the
        originals of the items requested in this subpart.)

  F.    All statements obtained from or given by any person having knowledge of facts
        relevant to the subject of this litigation.

  G.    All documents which mention or refer to any alleged health risks or hazards
        related to the oil spill and/or exposure thereto in your possession at or before the
        time of the injury alleged in your Complaint.

  H.    All journals, diaries, notes, letters, emails, social media entries/postings, or other
        documents written by you or received by you which refer to your health or well-
        being, including any injuries or illnesses, or which refer to the oil spill or the risks
        of exposure to the spill.

  I.    If you claim you have suffered a loss of earnings or earning capacity, your federal
        tax returns for each of the last five (5) years.

  J.    If you claim any loss from medical expenses, copies of all bills from any
        physician, hospital, pharmacy or other healthcare provider.

  K.    Copies of letters testamentary or letters of administration relating to your status as
        a plaintiff (if applicable).

  L.    Decedent's death certificate and autopsy report (if applicable).




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  M.    Any release executed by you or another person authorized to act on your behalf in
        connection with the allegations that form the basis of your claim.

  N.    All documents that you submitted to the Deepwater Horizon Medical Benefits
        Claims Administrator (Garretson Resolution Group) concerning any claim for
        compensation.




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                                            VERIFICATION

       I,                                              , have reviewed the information provided

in this Plaintiffs Profile Form, and I declare under penalty of perjury subject to 28 U.S.C. §

1746 that all of the information is true, complete, and correct to the best of my knowledge,

information, and belief.

       I have supplied all the documents requested in the Section entitled "Your Documents" in

this Plaintiffs Profile Form, to the extent that such documents are in my possession or in the

possession of my lawyers, and to the extent that production of such documents in the attorney's

possession does not violate the work product doctrine or attorney client privilege.

       I have signed and supplied the authorizations attached to this Verification.

       I acknowledge that I have an obligation to supplement the above responses if I learn that

       they are in any material respect incomplete or incorrect.




Signature                                                    Date



Print Name




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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


                                                    MDL No. 2179
In re: Oil Spill by the Oil Rig "Deepwater
Horizon" in the Gulf of Mexico, on April 20,        AUTHORIZATION FOR RELEASE OF
2010                                                MEDICAL RECORDS PURSUANT TO 45
                                                    C.F.R. § 164.508 (HIPAA)
   Applies to: 12-cv-968: BELO




                                                     Social Security Number: _ _ _ _ _ _ __


        I, the individual named above, hereby authorize my health care provider(s), health
plan(s), and health insurer(s) to disclose my health records to [TBD and provided] and/or their
designated agents ("Receiving Parties"). These records shall be used or disclosed solely in
connection with the currently pending BELO litigation involving the person named above.

       I hereby grant any reimbursement claim, lien holder or state or federal agency, and the
contract representatives of either, permission to share with the Recipient all reimbursement
claim and lien information and confirming health records regarding any conditional payments
made, or medical care performed, by the claim/ lien holder relating to the following conditions:




(collectively referred to as "lien information").

       As referred to above, my health records include any and all of the following:

        Records of my medical condition(s), diagnoses, and treatment, including, but not limited
to, physician's records; surgeons' records; discharge summaries; progress notes; consultations;
pharmaceutical records; medication sheets; patient information sheets; consents for treatment;
medical reports; x-rays and x-ray reports; CT scans, MRI films, photographs, and any other
radiological, nuclear medicine, or radiation therapy films; interpretations of diagnostic tests;
pathology materials, slides, tissues, and laboratory results and/or reports; consultations; physical
therapy records; drug and/or alcohol abuse records; HIVI AIDS diagnosis and/or treatment;
physicals and histories; correspondence; psychiatric records; psychological records;
psychometric test results; social worker's records; other information pertaining to the physical
and mental condition; all hospital summaries and hospital records including, but not limited to,
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admitting records; admitting histories and physicals; case records, discharge summaries;
physician's orders, progress notes, and nurses' notes; medical record summaries; emergency
room records; all other hospital documents and memoranda pertaining to any and all
hospitalizations and/or out-patient visits; and

       Any and all insurance records; statements of account, bills or billing records, or invoices;
any other papers concerning any treatment, examination, periods or stays of hospitalization,
confinement, or diagnosis pertaining to my health.

        I understand that the information in my health records may include information relating
to sexually transmitted disease, acquired immunodeficiency syndrome (AIDS), or human
immunodeficiency virus (HIV). It may also include information about behavioral or mental
health services, and treatment for alcohol and drug abuse.

      I understand that this authorization will permit counsel in this case to communicate with
my healthcare providers concerning the medical records disclosed pursuant to this authorization.

       In the event that this facility or medical provider requires execution of a proprietary
authorization for the release of medical records, I shall execute such authorization within 30 days
of my attorneys or I receiving from the Receiving Parties or their designated agents the required
form. Similarly, ifthe policies of this institution or medical provider require a more recently-
dated execution of this authorization than the one provided, I shall re-execute this authorization
within 30 days of the Receiving Parties alerting my attorneys or I of that fact.

        I understand that I have the right to revoke this authorization at any time. I understand
that if! wish to revoke the authorization, I must do so in writing and must provide my written
revocation to any and all of my health care providers, health plans, or health insurers, state or
federal agencies and all other third party lien holders to which the revocation will apply. I
understand that the revocation will not apply to any disclosures that have already been made in
reliance on this authorization prior to the date upon which the disclosing health care provider,
health plan, health insurer, or such other third party receives my written revocation.

        I understand that my authorization of the disclosure of my health records and lien
information is voluntary and that I therefore can refuse to sign this authorization. I also
understand that I do not need to sign this authorization in order to obtain health treatment or to
receive or be eligible to receive benefits for coverage of health treatment.

       I understand that, once disclosed to the Recipient, my health records and lien
information may not be protected by federal privacy law and could be further disclosed to
others without my authorization.

       This authorization expires upon final resolution of my BELO claim in the Medical
Benefits Class Action Settlement in MDL 2179.

       I have a right to receive and retain a copy of this authorization when signed below.
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Name of PLAINTIFF [PRINT]          Signature                         Date

OR


Name and title of AUTHORIZED       Signature                         Date
REPRESENTATIVE authorized to act
on behalf of PLAINTIFF



Relationship to PLAINTIFF
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


                                                  MDL No. 2179
In re: Oil Spill by the Oil Rig "Deepwater
Horizon" in the Gulf of Mexico, on April 20,      AUTHORIZATION FOR RELEASE OF
2010                                              EMPLOYEE/PLAINTIFF RECORDS

         Applies to: 12-cv-968: BELO




                                                     Date of Birth:
                                                                      -----------
                                                     Social Security Number: _ _ _ _ _ __

                                                     Address: _ _ _ _ _ _ _ _ _ _ __




EMPLOYER:

Name:

Address:



I, the EMPLOYEE named above, do hereby AUTHORIZE AND DIRECT my past or current
EMPLOYER identified above to disclose and release to [TBD and provided) and/or its duly
authorized representative any and all records, files, documents and other information concerning
my employment with the above-named EMPLOYER.

This authorization expires upon a final resolution of my BELO claim in the MEDICAL
BENEFITS CLASS ACTION SETTLEMENT in MDL 2179.

Dated this ___ day of _ _ _ _ _ _ _ 20


Printed Employee Name


Employee Signature
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To be filled out by an Authorized Representative for an Employee who is a minor, incapacitated
or incompetent person, or deceased person:


       Name of AUTHORIZED REPRESENTATIVE authorized to act on Employee's behalf


       Signature of AUTHORIZED REPRESENTATIVE authorized to act on Employee's
       behalf


       Relationship to Employee
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Social Security Administration                                                                                    Form Approved
Content for Release of Information                                                                                OMB No. 0960-0566

lnstn.lctlons for Using this Form
Complete this form only if you want us to give information or records about you, a minor, or a legally incompetent adult, to an
indivi<llual or group (for example, a doctor or an insurance company). If you are the natural or adoptive parent or legal guardian,
actin~ on behalf of a minor child, you may complete this form to release only the minor's non-medical records. We may charge a
fee for providing information unrelated to the administration of a program under the Social Security Act.
NOTE!: Do not use this form to:
• Request the release of medical records on behalf of a minor child. Instead, visit your local Social Security office or call our toll-
  free number, 1-800-772-1213 (TTY-1-800-325-0778), or
• Reqµest detailed information about your earnings or employment history. Instead, complete and mail form SSA-7050-F4. You
  can obtain form SSA-7050-F4 from your local Social Security office or online at www ssa gov/online/ssa-7050 pdf.
How to Complete this Form
We will not honor this form unless all required fields are completed. An asterisk (*) indicates a required field. Also, we will not
honor blanket requests for "any and all records" or the "entire file." You must specify the information you are requesting and you
must Sign and date this form. We may charge a fee to release information for non-program purposes.

• Fill in your name, date of birth, and social security number or the name, date of birth, and social security number of the person
  to whom the requested information pertains.
• Fill in the name and address of the person or organization where you want us to send the requested information.
• Specify the reason you want us to release the information.
• Check the box next to the type(s) of information you want us to release including the date ranges, where applicable.
•You, the parent or the legal guardian acting on behalf of a minor child or legally incompetent adult, must sign and date this form
 and provide a daytime phone number.
•If you are not the individual to whom the requested information pertains, state your relationship to that person. We may require
 prool of relationship.

                                                   PRIVACY ACT STATEMENT
Section 205(a) of the Social Security Act, as amended, authorizes us to collect the information requested on this form .. We will
use the information you provide to respond to your request for access to the records we maintain about you or to process your
reque$t to release your records to a third party. You do not have to provide the requested information. Your response is
voluntary; however, we cannot honor your request to release information or records about you to another person or organization
witho~t your consent. We rarely use the information provided on this form for any purpose other than to respond to requests for
SSA records information. However, the Privacy Act (5 U.S.C. § 552a(b)) permits us to disclose the information you provide on this
form in accordance with approved routine uses, which include but are not limited to the following:

1.To enable an agency or third party to assist Social Security in establishing rights to Social Security benefits and or coverage;
2.To make determinations for eligibility in similar health and income maintenance programs at the Federal, State, and local level;
3.To comply with Federal laws requiring the disclosure of the information from our records; and,
4.To facilitate statistical research, audit, or investigative activities necessary to assure the integrity of SSA programs.

We may also use the information you provide when we match records by computer. Computer matching programs compare our
recorcjs with those of other Federal, State, or local government agencies. We use information from these matching programs to
establlish or verify a person's eligibility for Federally-funded or administered benefit programs and for repayment of incorrect
payments or overpayments under these programs. Additional information regarding this form, routine uses of information, and
other Social Security programs is available on our Internet website, www.socialsecurity.gov, or at your local Social Security office.

                                         PAPERWORK REDUCTION ACT STATEMENT
This imformation collection meets the requirements of 44 U.S.C. § 3507, as amended by section 2 of the Paperwork Reduction
Act ofi 1995 You do not need to answer these questions unless we display a valid Office of Management and Budget control
numb~r. We estimate that it will take about 3 minutes to read the instructions, gather the facts, and answer the questions. SEND
OR BRING THE COMPLETED FORM TO YOUR LOCAL SOCIAL SECURITY OFFICE. You can find your local Social
Secu~ity office through SSA's website at www.socialsecurity.gov. Offices are also listed under U.S. Government agencies
in your telephone directory or you may call 1-800-772-1213 (TYY 1-800-325-0778). You may send comments on our time
estimate above to: SSA, 6401 Security Blvd., Baltimore, MD 21235-6401. Send l2llf¥ comments relating to our time estimate
to this address, not the completed form.
Form SSA-3288 (07-2013) EF (07-2013) Destroy Prior Editions
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Socia Security Administration                                                                                    Form Approved
Con ent for Release of Information                                                                               OMB No. 0960-0566
You     ust complete all required fields. We will not honor your request unless all required fields are completed. (*signifies a
requi~d field).
TO: $ocial Security Administration


               *My Full Name                             'My Date of Birth                    *My Social Security Number
                                                           (MM/DDNYYY)
I authorize the Social Security Administration to release information or records about me to:
'NAl\llE OF PERSON OR ORGANIZATION:                                  *ADDRESS OF PERSON OR ORGANIZATION:




'I want this information released because:
 We may charge a fee to release information for non-program purposes.




*Plea15e release the following information selected from the list below:
You 111ust specify the records you are requesting by checking at least one box. We will not honor a request for "any and all
recor(jjs" or "my entire file." Also, we will not disclose records unless you include the applicable date ranges where requested.

1.   D' Social Security Number
2.   D Current monthly Social Security benefit amount
3.   D Current monthly Supplemental Security Income payment amount
4.   D My benefit or payment amounts from date                   to date _ _ _ __
5.   D My Medicare entitlement from date                  to date _ _ _ __
6.   D Medical records from my claims folder(s) from date                 to date _ _ _ __
      If you want us to release a minor child's medical records, do not use this form. Instead, contact your local Social
      Security office.
7. D Complete medical records from my claims folder(s)
8. 0: Other record(s) from my file (you must specify the records you are requesting, e.g., doctor report, application,
      determination or questionnaire)




I am the individual, to whom the requested information or record applies, or the parent or legal guardian of a minor, or
the l~gal guardian of a legally incompetent adult. I declare under penalty of perjury (28 CFR § 16.41(d)(2004)) that I have
examined all the information on this form, and any accompanying statements or forms, and it is true and correct to the
best of my knowledge. I understand that anyone who knowingly or willfully seeks or obtain access to records about
anot~er person under false pretenses is punishable by a fine of up to $5,000. I also understand that I must pay all
applihble fees for requesting information for a non-program-related purpose.
*Signature:                                                                                *Date:
              -------------------------~
'Address:
Relationship (if not the subject of the record):                                           'Daytime Phone:
                                                                                                              ---------
Wit ne~ses must sign this form ONLY if the above signature is by mark (X). If signed by mark (X), two witnesses to the signing
who ~now the signee must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the
signa ure line above.
1.Signature of witness                                           2.Signature of witness


Address(Number and street,City,State, and Zip Code)                  Address(Number and street,City,State, and Zip Code)

Form SSA-3288 (07-2013) EF (07-2013)
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                                                                                                             Form Approved


l
          Security Administration                                                                            OMB No. 0960-0525

                     REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION

, Use This Form If You Need

~. Certified/Non-Certified Detailed Earnings Information
                                                                                 DO NOT USE THIS FORM TO REQUEST
                                                                                     YEARLY EARNINGS TOTALS
      Includes periods of employment or self-employment
      and the names and addresses of employers.                                 Yearly earnings totals are FREE to the public
                                                                                      if you do not require certification.
                              OR
!
                                                                                  To obtain FREE yearly totals of earnings,
~· Certified Yearly Totals of Earnings                                          visit our website at www.ssa.goyJmyaccount.
      Includes total earnings for each year but does not
      include the names and addresses of employers.
                                                  Privacy Act Statement
                                       Collection and Use of Personal Information

I Section 205 of the Social Security Act, as amended, authorizes us to collect the information on this form. We will

; use the information you provide to identify your records and send the earnings information you request.
! Completion of this form is voluntary; however, failure to do so may prevent your request from being processed.




    We rarely use the information in your earnings record for any purpose other than for determining your entitlement
    to Social Security benefits. However, we may use it for the administration and integrity of Social Security
    programs. We may also disclose information to another person or to another agency in accordance with
    approved routine uses, which include but are not limited to the following:
        1. To enable a third party or an agency to assist Social Security in establishing rights to Social Security
            benefits and/or coverage;
        2. To comply with Federal laws requiring the release of information from Social Security records (e.g., to the
            Government Accountability Office and Department of Veterans' Affairs);
        3. To make determinations for eligibility in similar health and income maintenance programs at the Federal,
            State, and local level; and,
        4. To facilitate statistical research, audit, or investigative activities necessary to assure the integrity and
            improvement of Social Security programs.

    A complete list of routine uses for earnings information is available in our Systems of Records Notices entitled,
    the Earnings Recording and Self-Employment Income System (60-0059), the Master Beneficiary Record
    (60-0090), and the SSA-Initiated Personal Earnings and Benefit Estimate Statement (60-0224).
    In addition, you may choose to pay for the earnings information you requested with a credit card. 31 C.F.R. Part
    206 specifically authorizes us to collect credit card information. The information you provide about your credit
    card is voluntary. Providing payment information is only necessary if you are making payment by credit card.
    You do not need to fill out the credit card information if you choose another means of payment (for example, by
    check or money order). If you choose the credit card payment option, we will provide the information you give us
    to the banks handling your credit card account and the Social Security Administration's (SSA) account.

    Routine uses applicable to credit card information, include but are not limited to:
    (1) to enable a third party or an agency to assist Social Security to effect a salary or an administrative offset or to
    an agent of SSA that is a consumer reporting agency for preparation of a commercial credit report in accordance
    with 31 U.S.C. §§ 3711, 3717 and 3718; and (2) to a consumer reporting agency or debt collection agent to aid in
    the collection of outstanding debts to the Federal Government.
    A complete list of routine uses for credit card information is available in our System of Records Notice entitled,
    the Financial Transactions of SSA Accounting and Finance Offices (60-0231). The notice, additional information
    regarding this form, routine uses of information, and our programs and systems is available on-line at
    www.socialsecurity,gov or at your local Social Security office.

    Paperwork Reduction Act Statement - This information collection meets the requirements of 44 U.S.C. § 3507,
    as amended by section 2 of the Paperwork Reduction Act of 1995. You do not need to answer these questions
    unless we display a valid Office of Management and Budget control number. We estimate that it will take about 11
    minutes to read the instructions, gather the facts, and answer the questions. Send I2lib' comments relating to
    our time estimate above to: SSA, 6401 Security Blvd, Baltimore, MD 21235-6401.
Form SSA-7050-F4 (11-2014) EF (11-2014)
Destroy prior editions
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                                       REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION
1.1 Provide your name as it appears on your most recent Social Security card or the name of the individual                                                whose
     i        earnings you are requesting.                                                                                     .

First Name:                                                                                                                                         Middle Initial:

 L~st Name:
S~cial Security Number (SSN)                                                                    One SSN per request


 ~'ate of Birth:                               I             I                           Date of Death:                   I

         ther Name(s) Used
(I elude Maiden Name)

2( What kind of earnings information do you need? (Choose ONE of the following types of earnings or SSA must return this request.)
cp Itemized Statement of Earnings $136                                                                  Year(s) Requested:                           to
                   (Includes the names and addresses of employers)
                                                                                                        Year(s) Requested:                           to
                   If you check this box, tell us why you need this information below.


                                                                                                              Check this box if you want the earnings information
                                                                                                          D   CERTIFIED for an additional $56.00 fee.



     p             Certified Yearly Totals of Earnings $56                                              Year(s) Requested:                           to
     I             (Does not include the names and addresses of employers)
     1             Yearly earnings totals are FREE to the public if you do not                          Year(s) Requested:                           to
     1
                   require certification. To obtain FREE yearly totals of
     I
     1
                   earnings, visit our website at WWW ssa goy!rnyaccount.

             . If you would like this information sent to someone else, please fill in the information below.
              I authorize the Social Security Administration to release the earnings information to:

               Name


               Address                                                                                                                              IState
               City                                                                                                                         IZIP Code
4 I am the individual to whom the record pertains (or a person authorized to sign on behalf of that individual).
 ' understand that any false representation to knowingly and willfully obtain information from Social Sec Uri·1y recor d s ·1s
 I punishable by a fine of not more than $5,000 or one year in prison.
 '      Signature AND Printed Name of Individual or Legal Guardian             SSA must receive this form within 120 days from the date signed
     !

                                                                                                                Date:
                                                                                                                                       I             I
         '




 F" elation ship (if applicable, you must attach proof)                                                        j Daytime Phone:

 Address                                                                                                                                            IState
             ity                                                                                                                            IZIP Code
v 1tnesses must sign this form ONLY if the above signature is by marked (X). If signed by mark (X), two witnesses to the signing who know the signee
must sign below and provide their full addresses. Please print the signee's name next to the mark (X) on the signature line above.
             Signature of Witness                                                          2. Signature of Witness
11
                                                                                                                                                                      I
 A !dress (Number and Street. City. State and ZIP Code)                                     Address (Number and Street, City, State and ZIP Code)


 Form SSA-7050-F4 (11-2014) EF (11-2014)                                           Page2
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                      REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION
                                            INFORMATION ABOUT YOUR REQUEST
                       You may use this form to request earnings information for only ONE Social Security Number (SSN)


         How do I get my earnings statement?                                    Is There A Fee For Earnings Information?

    You must complete the attached form. Tell us the specific              Yes. We charge a $136 fee for providing information for
    years of earnings you want, type of earnings record, and               purposes unrelated to the administration of our programs.
    provide your mailing address. The itemized statement of
    earnings will be mailed to ONE address, therefore, if you              1. Certified or Non-Certified Itemized Statement of
    want the statement sent to someone other than yourself,                    Earnings
    provide their address in section 3. Mail the completed form                In most instances, individuals request Itemized
    to SSA within 120 days of signature. If you sign with an "X",              Statements of Earnings for purposes unrelated to our
    your mark must be witnessed by two impartial persons who                   programs such as a private pension plan or personal
    must provide their name and address in the spaces provided.                injury suit. Bulk submitters may email OCO.Pension
    Select ONE type of earnings statement and include the                      Fund@ssa gov for an alternate method of obtaining
    appropriate fee.                                                           itemized earnings information.
    1. Certified/Non-Certified Itemized Statement of Earnings
        This statement includes years of self-employment or                     We will ~the itemized earnings information for an
        employment and the names and addresses of                               additional $56.00 fee. Certification is usually not
        employers.                                                              necessary unless you are specifically requested to obtain
    2. Certified Yearly Totals of Earnings                                      a certified earnings record.
        This statement includes the total earnings for each year
        requested but does not include the names and                            Sometimes, there is no charge for itemized earnings
        addresses of employers.                                                 information. If you have reason to believe your earnings
                                                                                are not correct (for example, you have previously received
    If you require one of each type of earnings statement, you                  earnings information from us and it does not agree with
    must complete two separate forms. Mail each form to SSA                     your records), we will supply you with more detail for the
    with one form of payment attached to each request.                          year(s) in question. Be sure to show the year(s) involved
                                                                                on the request form and explain why you need the
         How do I get someone else's earnings statement?                        information. If you do not tell us why you need the
                                                                                information, we will charge a fee.
    You may get someone else's earnings information if you
    meet one of the following criteria, attach the necessary               2. Certified Yearly Totals of Earnings
    documents to show your entitlement to the earnings                         We charge $56 to certify yearly totals of earnings.
    information and include the appropriate fee.                               However, if you do not want or need certification, you may
                                                                               obtain yearly totals E.BEE of charge at
    1. Someone Else's Earnings                                                 www ssa.gov/myaccount. Certification is usually not
        The natural or adoptive parent or legal guardian of a                  necessary unless you are advised specifically to obtain a
        minor child, or the legal guardian of a legally declared               certified earnings record.
        incompetent individual, may obtain earnings information
        if acting in the best interest of the minor child or                                Method of Payment
        incompetent individual. You must include proof of your               This Fee Is Not Refundable. DO NOT SEND CASH.
        relationship to the individual with your request. The proof
        may include a birth certificate, court order, adoption                 You may pay by credit card, check or money order.
        decree, or other legally binding document.                             • Credit Card Instructions
                                                                                    Complete the credit card section on page 4 and
    2. A Deceased Person's Earnings                                                 return it with your request form.
         You can request earnings information from the record of
         a deceased person if you are:                                          • Check or Money Order Instructions
         • The legal representative of the estate;                                  Enclose one check or money order per request form
         • A survivor (that is, the spouse, parent, child, divorced                 payable to the Social Security Administration and
          spouse of divorced parent); or                                            write the Social Security number in the memo.
         •An individual with a material interest (e.g., financial)
          who is an heir at law, next of kin, beneficiary under the            How long will it take SSA to process my request?
          will or donee of property of the decedent.
                                                                                Please allow SSA 120 days to process this request. After
         You must include proof of death and proof of your                      120 days, you may contact 1-800-772-1213 to leave an
         relationship to the deceased with your request.                       inquiry regarding your request.
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                            REQUEST FOR SOCIAL SECURITY EARNINGS INFORMATION
• Where do I send my complete request?

           Mail the completed form, supporting documentation, If using private contractor such as FedEx mail form,
           and applicable fee to:                             supporting documentation and applicable fee to:
                   Social Security Administration                      Social Security Administration
                    Division of Earnings Record Operations             Division of Earnings Record Operations
                   P.O. Box 33003                                      6100 Wabash Ave.
                    Baltimore, Maryland 21290-3003                     Baltimore, Maryland 21215

• How much do I have to pay for an Itemized Statement of Earnings?
            Non-Certified Itemized Statement of Earnin s                     Certified Itemized Statement of Earnin s
                              $136.00                                                         $192.00

• How much do I have to pay for Certified Yearly Totals of Earnings?
Certified yearly totals of earnings cost $56.00. You may obtain non-certified yearly totals EBEE of charge at
W\Yw.ssa.gov/myaccount. Certification is usually not necessary unless you are specifically asked to obtain
a ~ertified earnings record.
  I
                                          YOU CAN MAKE YOUR PAYMENT BY CREDIT CARD
A~       a convenience, we offer you the option to make your payment by credit card. However, regular credit card rules will apply.
                   You may also pay by check or money order. Make check payable to Social Security Administration.

                                                                            D       Visa                                   D   American Express
CMECKONE
                                                                            D MasterCard                                   D   Discover

c/edit Card Holder's Name
(Ehler the name from the credit card)
                                                                                           l""lrst Name, M1aa1e 1n1t1a1, ..... st Name


  '                                                                                                    FJum6er & Street
C(edit Card Holder's Address

                                                                                                   C:1fY, Sfafe, !:'. Zll' C:OOe

D~ytime Telephone Number                                            (                       )                              -
                                                                           Area Code
  '

Cledit Card Number                                                                     -                         -                        -

Cledit Card Expiration Date
     '                                                                                                      "'""" '    ,
A 111ount Charged
Se~ above to select the correct fee for your request.               $
Applicable fees are $56, $136, or $192
S A will return forms without the annronriate fee.


C~dit Card Holder's Signature

     '
                                                                    Authorization
     '


     I
             DO NOT WRITE IN THIS SPACE                             Name                                                                 uate
     i            OFFICE USE ONLY
                                                                    Remittance Control#

Form SSA-7050-F4 (11-2014) EF (11-2014)                        Page4
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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


                                                  MDL No. 2179
In re: Oil Spill by the Oil Rig "Deepwater
Horizon" in the Gulf of Mexico, on April 20,     AUTHORIZATION FOR RELEASE OF
2010                                             RECORDS PROVIDED TO DEEPWATER
                                                 HORIZON MEDICAL BENEFITS
   Applies to: 12-cv-968: BELO                   CLAIMS ADMINISTRATOR



                                                  Name: _ _ _ _ _ _ _ _ _ _ _ _ __

                                                  Date of Birth:
                                                                   -----------
                                                  Social Security Number: _ _ _ _ _ __


        I, the individual named above, hereby authorize the Deepwater Horizon MEDICAL
BENEFITS CLAIMS ADMINISTRATOR ("CLAIMS ADMINISTRATOR") to release all data,
documentation, and records pertaining to me in the possession, custody, or control of the
CLAIMS ADMINISTRATOR to [TBD and provided] and/or their designated agents
("Receiving Parties"). These records shall be used or disclosed solely in connection with the
currently pending BELO litigation involving the person named above.

         As referred to above, data, documentation, and records pertaining to me include any and
all of the following: documents submitted to the CLAIMS ADMINISTRATOR relating to claims
for compensation arising from a medical condition, illness, or injury allegedly caused by the
DEEPWATER HORIZON INCIDENT; the following forms and all information and documents
submitted as part of these forms and in support thereof: the Mediation Information Form, the
Proof of Claim Form, the Notice of Intent to Sue, and the Request for Review Form; medical and
other health records; employment records; documents provided by my attorneys; and any and all
other data, documentation, and records provided to the CLAIMS ADMINISTRATOR pertaining
tome.

       This authorization expires upon final resolution of my BELO claim in the Medical
Benefits Class Action Settlement in MDL 2179.
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Name of PLAINTIFF [PRINT]          Signature                         Date

OR


Name and title of AUTHORIZED       Signature                         Date
REPRESENTATIVE authorized to act
on behalf of PLAINTIFF



Relationship to PLAINTIFF
